             Case 3:05-cr-05797-RBL         Document 33         Filed 03/28/06   Page 1 of 1



 1                                                        Judge Leighton

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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT TACOMA

 9   UNITED STATES OF AMERICA,                   )
                                                 )        NO.     CR05-5797RBL
10                         Plaintiff,            )
                                                 )
11            v.                                 )        ORDER CONTINUING
                                                 )        RESPONSE TO PRE-TRIAL
12   MARCY GOODSON,                              )        MOTIONS
                                                 )
13                   Defendant.                  )
     ________________________________)
14
             Based upon the stipulation between the United States of America, and defendant
15
     Marcy Goodson, and for the reasons stated in the written Stipulation, this Court
16
     GRANTS the stipulation and ORDERS that,
17
             Defendant Marcy Goodson may file additional pre-trial motions by or before
18
     April 11, 2005.
19
             The government’s responses to pre-trial motions is continued to Wednesday,
20
     April 19, 2006, and defendant Goodson’s motions are renoted for Friday, April 21,
21
     2006.
22
             DATED this 28
                             th
                                  day of March, 2006.
23

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26
                                          A
                                          RONALD B. LEIGHTON
                                          UNITED STATES DISTRICT JUDGE
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     Order Continuing Government’s Response Date/                                    UNITED STATES ATTORNEY
     United States v. Goodson, et al., CR05-5797RBL - 1                             700 S
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